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14                                  UNITED STATES DISTRICT COURT

15                             NORTHERN DISTRICT OF CALIFORNIA

16                                     SAN FRANCISCO DIVISION

17

18   ANDREA BARTZ, CHARLES GRAEBER,                   Case No. 3:24-cv-05417-WHA
     and KIRK WALLACE JOHNSON,
19                                                    Action Filed: August 19, 2024
                      Plaintiffs,
20                                                    [PROPOSED] ORDER GRANTING
            v.                                        DEFENDANT ANTHROPIC PBC’S MOTION
21                                                    FOR AN ORDER PERMITTING
     ANTHROPIC PBC,                                   INTERLOCUTORY APPEAL PURSUANT TO
22                                                    28 U.S.C. § 1292(B) OR, IN THE
                      Defendant.                      ALTERNATIVE, MOTION FOR LEAVE TO
23                                                    FILE MOTION FOR RECONSIDERATION

24                                                    Hearing Date: August 28, 2025
                                                      Hearing Time: 8:00 am
25                                                    Judge: Honorable William H. Alsup

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                                                                                 [PROPOSED] ORDER
                                                                       CASE NO. 3:24-CV-05417-WHA
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COOLEY LLP
ATTORNEYS AT LAW                                                                        ANTHROPIC PBC’S MOT. FOR
 SAN FRANCISCO                                                     2              CERT. ORDER OR RECONSIDERATION
                                                                                      CASE NO. 3:24-CV-05417-WHA
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 1             Pending before the Court is Defendant Anthropic PBC’s (“Anthropic”) Motion for an Order

 2   Permitting an Interlocutory Appeal Pursuant to 28 U.S.C. § 1292(b) or, in the alternative, Motion

 3   for Leave to File Motion for Reconsideration (the “Motion”) regarding the Court’s June 23, 2025

 4   order denying in part Anthropic’s motion for summary judgment (ECF No. 231, the “Order”).

 5   Having considered all papers filed in support of and in opposition to the Motion, any oral arguments

 6   of counsel, and all other pleadings and papers on file herein, the Court finds as follows:

 7

 8             1. [Anthropic’s Motion for an order permitting an interlocutory appeal pursuant to 28

 9   U.S.C. § 1292(b) is GRANTED. A district court may certify an order for interlocutory appeal

10   pursuant to U.S.C. § 1292(b) if it (1) involves “a controlling question of law”; (2) on which there

11   is “substantial ground[s] for difference of opinion”; and (3) “an immediate appeal from the order

12   may materially advance the ultimate termination of the litigation . . . .” 28 U.S.C. § 1292(b); see

13   In re Cement Antitrust Litig., 673 F.2d 1020, 1026 (9th Cir. 1981). The Court finds that all three

14   requirements are met here. The Court hereby amends its Order to certify the order for interlocutory

15   review by the U.S. Court of Appeals for the Ninth Circuit pursuant to 28 U.S.C. § 1292(b) and

16   Federal Rule of Appellate Procedure 5(a)(3). Anthropic must seek leave from the Ninth Circuit for

17   an order permitting an interlocutory appeal pursuant to 28 U.S.C. § 1292(b) within 10 days of this

18   Order.]

19             In the alternative:

20             2. [Anthropic’s motion for leave to file a motion for reconsideration of this Court’s Order

21   is GRANTED.            The Court will issue a briefing schedule on Anthropic’s motion for

22   reconsideration.]

23

24   IT IS SO ORDERED.

25

26   Dated:                                                 ____________________________________
                                                            WILLIAM ALSUP
27                                                          UNITED STATES DISTRICT JUDGE
28

                                                                                        [PROPOSED] ORDER
                                                        1                     CASE NO. 3:24-CV-05417-WHA
